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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

GERALD LYNN BOSTOCK,                           )
                                               )
      Plaintiff,                               ) CIVIL ACTION
                                               ) File No. 1:16-CV-01460-ELR-WEJ
v.                                             )
                                               )
CLAYTON COUNTY,                                )
                                               )
      Defendant.                               )

     NOTICE OF WITHDRAWAL AND SUBSTITUTION OF COUNSEL

      COMES NOW, Plaintiff, Gerald Lynn Bostock, and files this notice of

withdrawal of his counsel, Brian J. Sutherland, and Timothy Brian Green, and

substitution of Mr. Sutherland and Mr. Green with Edward D. Buckley, Rachel

Berlin Benjamin, and Andrew Beal. Messrs. Sutherland and Green are no longer

associated with this matter, as they are no longer employed with Buckley Beal,

LLP. Thomas Mew will continue as counsel in the representation of Plaintiff for

Buckley Beal, LLP. The undersigned hereby requests that Messrs. Sutherland and

Green be withdrawn as counsel for the Plaintiff in this action and that their names

be removed from all service lists in this action, including the notice of electronic

filing list and that Mr. Buckley’s, Mrs. Berlin Benjamin’s and Mr. Beal’s names be

added to these lists.

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      All further pleadings, Orders and notices directed towards Plaintiff after this

date shall be served upon Plaintiff’s counsel as follows:

      Thomas J. Mew, IV
      Edward D. Buckley
      Andrew Beal
      Rachel Berlin Benjamin
      Buckley Beal, LLP
      600 Peachtree Street NE, Suite 3900
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      (404) 781-1100 Main
      (404) 781-1101 Facsimile

      Respectfully submitted, this 8th day of October, 2020.

                                          BUCKLEY BEAL, LLP

                                By:      s/ Thomas J. Mew, IV
                                         Georgia Bar No. 503447
                                         tmew@buckleybeal.com

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                          CERTIFICATE OF SERVICE

      I hereby certify that on October 8, 2020, I electronically filed the foregoing

NOTICE OF WITHDRAWAL AND SUBSTITUTION OF COUNSEL using

the CM/ECF system which will automatically send e-mail notification of such

filing to the following attorneys of record:

      Jack Reynolds Hancock
      William H. Buechner, Jr.

                                          BUCKLEY BEAL, LLP

                                 By:      s/ Thomas J. Mew IV
                                          Georgia Bar No. 503447
                                          tmew@buckleybeal.com

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